Case 2:03-cv-02939-.]DB-dkv Document 147 Filed 06/27/05 Page 1 of 3 Page|D 125

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IN THE UNITED sTATBs DISTRICT COURT
FoR THE WESTERN DISTRICT oF TENNESSEEOE JUH 27 PH q l 4

v

 

WESTERN DIVISION

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l,:.£'.'.\ '?‘A, LJ.-“.». ‘.. .` J-..
W.D. '~`J":": 'i'l\', i.‘._..."..'i".iS

ELL[PSIS, lNC.,

Plaintiff,
v. Civil Action No. 03-2939 BV
JURY DEMANDED

THE CoLOR WORKS, INC.,

Defendant.

 

-{'MS‘ED] MODIFIED SCHEDULING ORDER

 

BEFORE THE COURT is the Motion ofEllipsis, Inc. and Mary Elizabeth Wade to Modify
Scheduling Order. IT APPEARS TO THE COURT that the Motion is Well taken and that The Color
Works, Inc. consents to the relief requested lt is therefore ORDERED that the present schedule is

modified to include the following new dates and deadlines:

COMPLETING FACT DISCOVERY: September 9, 2005
TCW TO PROVIDE AFFIRMATIVE

EXPERT REPORTS: September 9, 2005
ELLIPSIS/WADE TO PROVIDE REBUTTAL

EXPERT DISCLOSURES/REPORTS: October 7, 2005
COMPLETING EXPERT DISCOVERY: October 31, 2005
FIL[NG DISPOSITIVE MOTIONS: November 21, 2005

T$zis document entered on the docket sheet co lance
mm Rme 58 and/or 79(3) FRCP on "°'2 ’

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These dates may not be modified absent further order of the Court.
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so oRDERED this 53 5 day ofJune, 2005.

/@M,ia 7< Z.WW/

DIANE K. VESCOVO
U.S. MAGISTRATE JUDGE

 

 

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This notice confirms a copy of` the document docketed as number 147 in
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Honorable .1. Breen
US DISTRICT COURT

